                         EXHIBIT E
Case 2-19-20905-PRW, Doc 2222-5, Filed 09/15/23, Entered 09/15/23 14:06:46,
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                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com

Official Committee of Unsecured Creditors of                            Issue Date :      6/21/2023
The Diocese of Rochester, New York
                                                                              Bill # :       01149



Matter: Insurance

                            PROFESSIONAL SERVICES RENDERED


Date     Timekeeper      Narrative                                                Hours    Amount
5/1/2023 Jesse Bair      Participate in conference with T. Burns re going-forward 0.10      $62.50
                         insurance strategy (.1);
5/1/2023   Jesse Bair    Review correspondence from I. Scharf re Interstate        0.30     $187.50
                         mediation status (.1); participate in conference with T.
                         Burns re same and strategy for Interstate mediation
                         (.2);
5/1/2023   Jesse Bair    Analyze CNA's claim objection reply brief (.4);           0.60     $375.00
                         conference with T. Burns re same and potential
                         insurance responses in connection with same (.2);
5/1/2023   Jesse Bair    Participate in state court counsel meeting for insurance 1.00      $625.00
                         purposes re mediation and settlement issues (1.0);
5/1/2023   Jesse Bair    Provide instructions to B. Cawley re additional analysis 0.10       $62.50
                         needed re stipulated judgment process under New York
                         law (.1);
5/1/2023   Jesse Bair    Review current draft of the Plan re stipulated judgment   0.20     $125.00
                         process issues (.2);
5/1/2023   Jesse Bair    Participate in conference with T. Burns re stipulated     0.10      $62.50
                         judgment strategy (.1);
5/1/2023   Jesse Bair    Participate in additional conference with T. Burns re     0.40     $250.00
                         CNA's claim objection standing from an insurance
                         perspective and potential response re same (.3);
                         review T. Burns email memorandum to I. Scharf re
                         same (.1);
5/1/2023   Jesse Bair    Participate in BB team conference re case                 0.10      $62.50
                         developments and projects (.1);
5/1/2023   Nathan Kuenzi Participate in BB team conference re case                 0.10      $42.00
                         developments and projects (.1);




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5/1/2023 Timothy Burns Conference with J. Bair re case insurance strategy (.1);        3.40   $2,380.00
                        met with internal team re case assignments and
                        strategy (.1); reviewed I. Scharf email re Interstate
                        insurance strategy (.1)
                        conference with J. Bair re same (.2); call with I. Scharf
                        re mediation issues (.2); call with J. Bair re stipulated
                        judgment issues (.1); met with J. Bair re CNA's reply
                        brief (.2); reviewed CNA's reply brief re claims
                        objection motion (.7); participate in additional
                        conference with J. Bair re CNA's claim objection
                        standing from an insurance perspective and potential
                        response re same (.3); prepared email to file re
                        argument against CNA's position (.2); participate in
                        state court counsel meeting for insurance purposes re
                        settlement and litigation strategy (1.0); email to I. Scharf
                        re bankruptcy standing argument (.2);
5/1/2023 Alyssa Turgeon Participate in BB team conference re case                      0.10     $36.00
                        developments and projects (.1);
5/1/2023 Brian Cawley Research New York law re arms' length negotiation and            1.80    $756.00
                        reasonableness requirements for stipulated judgments
                        (1.8);
5/2/2023 Timothy Burns Prepare for state court counsel meeting (.1); participate       1.40    $980.00
                        in state court counsel meeting for insurance purposes
                        re mediation, settlement, and litigation strategy and
                        next-steps (1.3);
5/2/2023 Jesse Bair     Review I. Scharf correspondence re disclosure                  0.10     $62.50
                        statement and mediation update (.1);
5/2/2023 Jesse Bair     Prepare for state court counsel meeting (.1); participate      1.40    $875.00
                        in state court counsel meeting for insurance purposes
                        re mediation, settlement, and litigation strategy and
                        next-steps (1.3);
5/3/2023 Jesse Bair     Review I. Scharf correspondence re case                        0.10     $62.50
                        developments and CNA claim objection update (.1);
5/3/2023 Jesse Bair     Participate in call with state court counsel and T. Burns      0.10     $62.50
                        re insurance mediation strategy (.1);
5/3/2023 Jesse Bair     Prepare for Committee meeting (.1); participate in             1.10    $687.50
                        Committee meeting for insurance purposes re case
                        developments, mediation, and potential settlement
                        strategy (1.0);
5/4/2023 Jesse Bair     Review state court counsel's Rule 2019 letter to the           0.20    $125.00
                        Court (.1); review CNA's 2019 letter responding to
                        same (.1);
5/4/2023 Jesse Bair     Review correspondence from I. Scharf and state court           0.10     $62.50
                        counsel re Interstate mediation developments (.1);
5/5/2023 Jesse Bair     Participate in call with state court counsel re upcoming       0.10     $62.50
                        meeting with the mediators (.1);
5/5/2023 Jesse Bair     Participate in meeting with the mediators, state court         0.80    $500.00
                        counsel, and PSZJ re potential Interstate mediation and
                        related settlement issues (.8);



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5/5/2023 Jesse Bair       Correspondence with T. Burns re outcome of call with           0.30    $187.50
                          the mediators and next-steps re Interstate mediation
                          (.2); participate in call with T. Burns re same (.1);
5/5/2023   Timothy Burns Review and consider correspondence with J. Bair re              0.30    $210.00
                          outcome of call with the mediators and next-steps re
                          Interstate mediation (.2); participate in call with J. Bair
                          re same (.1);
5/6/2023   Jesse Bair     Review correspondence with the mediators and                   0.10     $62.50
                          Interstate re upcoming Interstate mediation session (.1);
5/7/2023   Jesse Bair     Review additional correspondence with Interstate, the          0.10     $62.50
                          Diocese, and the mediators re upcoming Interstate
                          mediation session (.1);
5/8/2023   Alyssa Turgeon Participate in BB team conference re case                      0.10     $36.00
                          developments and projects (.1);
5/8/2023   Brian Cawley Participate in BB team conference re case                        0.10     $42.00
                          developments and projects (.1);
5/8/2023   Timothy Burns Conference with J. Bair re insurance mediation strategy         1.50   $1,050.00
                          (.1); participate in BB team meeting re case
                          developments and assignments (.1); participate in calls
                          with state court counsel re insurance mediation issues
                          (.2); participate in call with J. Bair re stipulated
                          judgment strategy (.2); participate in call with I. Scharf
                          and J. Bair re same (.4); participate in state court
                          counsel meeting re insurance mediation and litigation
                          strategy (.4); reviewed case management order
                          authorizing additional mediations (.1);
5/8/2023   Leakhena Au Participate in BB team conference re case                         0.10     $42.00
                          developments and projects (.1);
5/8/2023   Nathan Kuenzi Participate in BB team conference re case                       0.10     $42.00
                          developments and projects (.1);
5/8/2023   Jesse Bair     Participate in conference with T. Burns re insurance           0.10     $62.50
                          mediation strategy (.1);
5/8/2023   Jesse Bair     Participate in BB team meeting re case developments            0.10     $62.50
                          and related assignments (.1);
5/8/2023   Jesse Bair     Prepare for call with I. Scharf re stipulated judgment         0.50    $312.50
                          issues (.1); participate in call with I. Scharf and T. Burns
                          re same (.4);
5/8/2023   Jesse Bair     Review case management order authorizing additional            0.10     $62.50
                          mediation sessions (.1);
5/8/2023   Jesse Bair     Participate in state court counsel meeting re insurance        0.40    $250.00
                          mediation and litigation strategy (.4);
5/8/2023   Jesse Bair     Participate in call with T Burns re stipulated judgment        0.20    $125.00
                          strategy (.2);
5/9/2023   Jesse Bair     Review correspondence with the Diocese and                     0.10     $62.50
                          mediator re Interstate mediation details (.1);
5/9/2023   Jesse Bair     Participate in conference with T. Burns re case                0.20    $125.00
                          insurance strategy and next-steps (.2);
5/9/2023   Timothy Burns Participate in call with state court counsel re mediation       0.40    $280.00
                          developments (.2); participate in conference with J.
                          Bair re case insurance strategy and next-steps (.2);
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5/10/2023 Jesse Bair    Review I. Scharf correspondence re CNA request for             0.10    $62.50
                        mediation (.1);
5/10/2023 Jesse Bair    Participate in conference with state court counsel and I.      0.60   $375.00
                        Scharf re CNA's request for mediation and potential
                        next-steps re same (.5); correspondence with T. Burns
                        re outcome of same (.1);
5/11/2023 Jesse Bair    Review I. Scharf correspondence re case mediation              0.10    $62.50
                        developments (.1);
5/11/2023 Jesse Bair    Participate in conference with T. Burns re Interstate and      0.10    $62.50
                        CNA mediation strategy (.1);
5/12/2023 Timothy Burns Review correspondence with I. Scharf re upcoming               0.20   $140.00
                        insurance mediations (.1); review correspondence with
                        J. Bair re state court counsel meeting (.1);
5/15/2023 Timothy Burns Participate in conferences with J. Bair re insurance           1.10   $770.00
                        settlement and litigation strategy (.3); participate in call
                        with state court counsel and J. Bair re mediation and
                        settlement strategy (.1); review I. Scharf
                        correspondence re CNA mediation update (.1); review
                        and consider the court's recent mediation orders (.2);
                        participate in state court counsel meeting for insurance
                        purposes re mediation strategy (.4);
5/15/2023 Jesse Bair    Participate in conferences with T. Burns re insurance          0.30   $187.50
                        settlement and litigation strategy (.3);
5/15/2023 Jesse Bair    Participate in call with T. Burns and state court counsel      0.10    $62.50
                        re mediation and settlement strategy (.1);
5/15/2023 Jesse Bair    Review supplemental case management order re CNA               0.10    $62.50
                        mediation (.1);
5/15/2023 Jesse Bair    Participate in state court counsel meeting for insurance       0.40   $250.00
                        purposes re mediation strategy (.4);
5/15/2023 Jesse Bair    Review I. Scharf correspondence re CNA mediation               0.10    $62.50
                        update (.1);
5/15/2023 Jesse Bair    Correspondence with I. Scharf and state court counsel          0.10    $62.50
                        re stipulated judgment process (.1);
5/15/2023 Jesse Bair    Analysis re preparations needed in advance of                  0.10    $62.50
                        upcoming insurance mediations (.1);
5/16/2023 Jesse Bair    Review I. Scharf correspondence re Interstate                  0.10    $62.50
                        negotiations (.1);
5/16/2023 Timothy Burns Review correspondence with I. Scharf re Interstate             0.10    $70.00
                        negotiations (.1);
5/17/2023 Jesse Bair    Review draft stipulations of dismissal for LMI and             0.20   $125.00
                        Underwriters (.1); correspondence with I. Scharf re
                        same (.1);
5/17/2023 Jesse Bair    Participate in portion of Committee meeting for                0.90   $562.50
                        insurance purposes re mediation and litigation issues
                        (.9);
5/19/2023 Jesse Bair    Review case management order adjourning CNA's                  0.10    $62.50
                        motions to compel (.1);




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5/19/2023 Jesse Bair      Review and respond to correspondence with LMI re            0.70      $437.50
                          LMI and Underwriters' request for dismissal from the
                          insurance adversary proceeding (.2); review draft tolling
                          agreements with LMI and Underwriters (.2); conference
                          with T. Burns re same (.2); additional correspondence
                          with LMI and the Debtor re same and dismissal of LMI
                          and Underwriters without prejudice (.1);
5/19/2023 Timothy Burns   Review correspondence with LMI and J. Bair re draft         0.40      $280.00
                          tolling and dismissal stipulations re LMI and
                          Underwriters; (.2) conference with J. Bair re same (.2);
5/22/2023 Jesse Bair      Review final versions of stipulations of dismissal of LMI   0.20      $125.00
                          and Underwriters and related correspondence (.2);
5/22/2023 Timothy Burns   Review stipulations of dismissal of LMI and                 0.20      $140.00
                          Underwriters and related emails (.2);
5/23/2023 Timothy Burns   Review correspondence with the mediator re upcoming         0.30      $210.00
                          mediation (.1); review correspondence with I. Nasatir re
                          First State negotiations (.1); review Rule 2019 order
                          (.1);
5/23/2023 Jesse Bair      Review correspondence from the mediators re                 0.10       $62.50
                          upcoming Interstate mediation (.1);
5/23/2023 Jesse Bair      Review CNA's letter and proposed Order re its Rule          0.10       $62.50
                          2019 motion (.1);
5/24/2023 Jesse Bair      Correspondence with I. Scharf re Interstate mediation       0.10       $62.50
                          session (.1);
5/24/2023 Jesse Bair      Analyze First State counter (.1); correspond with I.        0.20      $125.00
                          Nasatir re potential response to same (.1);
5/24/2023 Timothy Burns   Review correspondence with J. Bair re upcoming              0.10       $70.00
                          Interstate mediation session (.1);
5/25/2023 Jesse Bair      Review correspondence from the Debtor re upcoming           0.10       $62.50
                          Interstate mediation (.1);
5/26/2023 Timothy Burns   Additional analysis re insurance strategy for upcoming      0.30      $210.00
                          mediation session (.2); correspondence with the
                          Diocese re upcoming mediation (.1);
5/31/2023 Jesse Bair      Review correspondence with B. Michael re Committee          0.10       $62.50
                          meeting (.1);
Total Hours and Fees                                                                  26.20   $16,598.50

                                             EXPENSES


Date                      Description                                                           Amount
5/2/2023                  Postage                                                                 $4.35
5/5/2023                  CloudNine, database monthly hosting fee (April 2023)                   $46.97
5/30/2023                 Postage                                                                 $4.35
Total Expenses                                                                                   $55.67


                                      Timekeeper Summary
Name                                           Hours                    Rate                    Amount
Alyssa Turgeon                                   0.20               $360.00                      $72.00
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Name                                  Hours              Rate                 Amount
Brian Cawley                            1.90          $420.00                 $798.00
Jesse Bair                             14.10          $625.00               $8,812.50
Leakhena Au                             0.10          $420.00                  $42.00
Nathan Kuenzi                           0.20          $420.00                  $84.00
Timothy Burns                           9.70          $700.00               $6,790.00

                                                    Total Due This Invoice: $16,654.17




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